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                                                                FILED: November 20, 2020


                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT

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                                             No. 20-1495
                                        (1:20-cv-00929-RDB)
                                       ___________________

        LEADERS OF A BEAUTIFUL STRUGGLE; ERRICKA BRIDGEFORD;
        KEVIN JAMES

                      Plaintiffs - Appellants

        v.

        BALTIMORE POLICE DEPARTMENT; MICHAEL S. HARRISON, in his
        official capacity as Baltimore Police Commissioner

                      Defendants - Appellees

                                 _____________________________

                                  STAY OF MANDATE UNDER
                                     FED. R. APP. P. 41(d)(1)
                                 _____________________________

              Under Fed. R. App. P. 41(d)(1), the timely filing of a petition for rehearing

        or rehearing en banc or the timely filing of a motion to stay the mandate stays the

        mandate until the court has ruled on the petition for rehearing or rehearing en banc

        or motion to stay. In accordance with Rule 41(d)(1), the mandate is stayed pending

        further order of this court.


                                                                /s/Patricia S. Connor, Clerk
